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                                                           June 24, 2025

  Honorable Michael A. Shipp, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:       Johnson & Johnson Talcum Powder Products Marketing, Sales
                      Practices and Products Liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         In accordance with the Court’s Order of June 17, 2025 (ECF 38985), the
  Plaintiffs’ Steering Committee submits this letter brief identifying the following case
  for the first bellwether trial: Carter Judkins v. Johnson & Johnson, et al. (No. 3:19-
  cv-12430-MAS-RLS).

            Thank you for your consideration of this matter.

                                                     Respectfully submitted,
                      s/ P. Leigh O'Dell                                    s/ Michelle A. Parfitt

                      P. Leigh O'Dell                                       Michelle A. Parfitt
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                                     279258
                                                         Hon. Michael A. Shipp, U.S.D.J.
                                                       Hon. Rukhsanah L. Singh, U.S.M.J.
                                                                           June 24, 2025
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